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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEBRASKA


UNITED STATES OF AMERICA,                   )            Case No. 8:03CR263
                                            )
                    Plaintiff,              )
                                            )
      v.                                    )                   ORDER
                                            )
TAMMY L. LUSTER,                            )
                                            )
                    Defendant.              )


      IT IS ORDERED that, pursuant to defendant's oral motion for a continuance, the

change of plea hearing for the defendant, Tammy L. Luster, is res§cheduled before the

undersigned in Courtroom No. 3, Third Floor, Roman L. Hruska U.S. Courthouse, 111 South

18th Plaza, Omaha, Nebraska, on May 15, 2006, at 1:00 p.m. Since this is a criminal case,

the defendant shall be present, unless excused by the court. If an interpreter is required,

one must be requested by the plaintiff in writing five (5) days in advance of the scheduled

hearing.

      DATED this 6th day of April, 2006.

                                            BY THE COURT:




                                            s/ Joseph F. Bataillon
                                            JOSEPH F. BATAILLON
                                            United States District Judge
